
Opinion by Judge D.W. Nelson; Dissent by Judge IKUTA.
OPINION
D.W. NELSON, Senior Circuit Judge:
Richard D. Hurles appeals the district court’s denial of his petition for a writ of habeas corpus from his murder conviction and death sentence. He argues the district court erred on four issues: judicial bias, ineffective assistance of sentencing counsel, ineffective assistance of appellate counsel, and procedural default (related to portions of his ineffective assistance of counsel claims).
For the reasons set forth below, we reverse the district court’s denial of Hurles’s judicial bias claim. The highly unusual facts of this case — in which the trial judge became involved as a party in an interlocutory appeal, was denied standing to appear as an adversary, and then proceeded to preside over a murder trial and single-handedly determine Hurles’s death sentence — compel us to conclude that Hurles was denied his right to due process. These exceptional facts raise the probability of actual bias to an unconstitutional level.
Because counsel requested only a new sentencing at oral argument, rather than a new trial, we remand to the district court with instructions to grant a writ of habeas corpus as to Petitioner’s sentence unless the State of Arizona elects, within 90 days of the issuance of the mandate, to resentence Petitioner before a jury and presided over by a judge other than Judge Hilliard, within a reasonable time thereafter to be determined by the district court. We do not reach Hurles’s remaining claims, as they are now rendered moot by the relief we grant for his judicial bias claim.

I. FACTUAL AND PROCEDURAL BACKGROUND

On November 12, 1992, just a few months after Hurles was released from thirteen years of incarceration for previous crimes, eyewitnesses placed him at the Buckeye Public Library around 2:00 p.m. One witness saw him in the children’s section just before she left at approximately 2:30 p.m. She observed him “stare” at her, and she smelled alcohol from feet away. When the last witness left the library, the only two people remaining were Hurles and Kay Blanton, the librarian. By about 2:45 p.m., when visitors attempted to enter the library, they found the *1305front door locked and saw Blanton lying in a pool of blood.
Dr. Walter, a defense expert, described Hurles’s account of that time:
On the day before the present offense, Richard drank approximately eighteen beers throughout the day and had only one meal in the evening. The next morning he was still intoxicated. Richard ate a large breakfast shortly before his nephew invited him to go meet a woman and drink more beer. Allegedly, they both had consensual sex with the woman before leaving. While en [] route to his brother’s house, an old acquaintance, a drug dealer, gave Richard a hit of L.S.D. and congratulated him on getting out of prison. Once back at home, Richard drank several more beers before going to the library to return some books. He is unsure how long he was there and has no memory of the actual offense.
Another witness saw Hurles leave the library through the back door and followed him down the street, where they had a brief conversation. State v. Hurles, 185 Ariz. 199, 914 P.2d 1291, 1293-94 (1996). Hurles then went home on a borrowed bicycle and requested that his nephew Thomas drive him to a Phoenix bus station. Id. On the way, Hurles dumped his bloody clothes along the side of the road. Id. After dropping Hurles off, Thomas later helped police find the discarded clothes, and Hurles was arrested on a bus headed to Las Vegas. Id.
In the library, Blanton was found with her clothes removed from the waist down and thirty-seven stab wounds on her body. Id. at 1293. The weapon was a paring knife Hurles had found in the library. Id. She was still conscious when paramedics arrived at the scene, after having attempted to reach a phone. Id. at 1299. She was transferred to the hospital and died shortly thereafter.
Richard Hurles was arrested and charged with first degree premeditated murder, first degree felony murder, burglary, and attempted sexual assault. Because he was indigent, the court appointed an attorney to represent him. When the prosecution decided to seek the death penalty, Hurles’s attorney made an ex parte request to Judge Hilliard, the trial judge, for the appointment of co-counsel. The practice of designating at least two attorneys for capital cases was standard at the Maricopa County Public Defender’s Office.1 Hurles’s attorney cited the need to prepare for not only the guilt phase of Hurles’s capital proceedings, in which she would later raise an insanity defense and need to prepare expert testimony and scientific evidence, but also the complex sentencing phase. After Judge Hilliard denied the request without explanation, Hurles’s attorney petitioned the court of appeals in a special action, arguing that the judge had abused her discretion.
Under Arizona law, a trial judge is a nominal party in special action proceedings. However, this nomenclature is a “mere formality” warranting no action on the part of the judge. State ex rel. Dean v. City Court, 123 Ariz. 189, 598 P.2d 1008, 1011 (App.1979); see also Hurles v. Superior Court, 174 Ariz. 331, 849 P.2d 1, 2 (App.1993). In this case, however, Judge Hilliard appeared and filed a responsive pleading defending her ruling. The judge was represented in the special action by Colleen French from the Arizona Attorney General’s Office. As Ms. French admitted in later proceedings, she had at least some *1306communications with Judge Hilliard about Hurles’s case in the context of representing Judge Hilliard in the special action proceeding, although the record is ambiguous as to the nature and extent of those communications.
In her responsive pleading, Judge Hilliard commented on the overwhelming evidence of guilt the state had assembled against Hurles, evidence which rendered the case “very simple and straightforward.” In addition, Judge Hilliard questioned the competence of Hurles’s attorney, stating, “Clearly there are other attorneys who provide contract services for Maricopa County who would be able to provide competent representation in a case as simple as this.” These comments took place months before any evidence had been presented in the case.
The Arizona Court of Appeals published a decision denying Judge Hilliard standing to appear in the special action and ruling it improper for judges to file pleadings in special actions solely to defend the correctness of their decisions. Hurles v. Superi- or Court, 174 Ariz. 331, 849 P.2d 1 (App. 1993). Addressing Judge Hilliard’s participation specifically, the court held that it was “of the inappropriate T-ruled-correctly’ sort,” which violated the “essential [principle] to impartial adjudication” that judges must have “no personal stake — and surely no justiciable stake — in whether they are ultimately affirmed or reversed.” Id. at 4 (emphasis in original). The court then declined jurisdiction over the petition. Id.
Despite the Court of Appeals’s ruling that Judge Hilliard had acted improperly, she continued to preside over Hurles’s trial. On April 14, 1994, a jury found Hurles guilty of all charges.
Judge Hilliard then conducted an aggravation/mitigation hearing on September 30, 1994, to hear evidence regarding Hurles’s recommended sentence. Under Arizona’s capital sentencing scheme at the time, Judge Hilliard was the sole arbiter of Hurles’s sentence. No jury participated in determining his sentence.
Hurles’s counsel offered the following evidence regarding a number of alleged mitigating factors, including diminished capacity, dysfunctional family background, low intelligence and lack of education, and good behavior while incarcerated:
Richard Hurles was born into a family of poor migrant farm workers as one of nine children and eight sons.2 Richard was always slow and was routinely placed in special classes in school. Various doctors at points in his life have diagnosed him as mentally retarded, borderline mentally retarded, and learning disabled.
Richard’s father John was an abusive alcoholic and sexual predator, and he passed these traits on to most of the Hurles children. John molested his only daughter Debbie for many years until she escaped into foster care. According to Edith Hurles (the ex-wife of one of Richard’s brothers), John also saw no problem with forcing women to have sex with him, believing that “if a man wanted a woman, he should take her. If she did not want it, force her.” John raped Richard’s first girlfriend after forcing Richard to pull the car over so that he could take her out by the side of the road. John also routinely beat the children with a leather belt or a switch from a tree, and on one occasion he bashed one of his children over the head with a hammer. Richard’s mother Irene *1307offered no protection from John’s abuse, as she was often the victim herself. Edith Hurles remembered that John would beat Irene “whenever he got drunk, and he was drunk all the time.”
Richard began drinking alcohol and sniffing paint, glue, and gasoline at age nine. John taught his sons to drink at early ages and fed at least one of the children vodka as a toddler; alcohol and drug abuse were never discouraged. As Richard explained, “[I]t was routine for three or four of us to be high on alcohol, marijuana, or cocaine.” Dr. Stonefeld testified during the pre-sentence hearing that “[t]he norm in [Hurles’s] family was abuse of alcohol.” Richard’s education ended permanently in the seventh grade after he was caught sniffing paint on school property. He sniffed paint once or twice per week beginning at age twelve. At age fourteen, Richard added approximately five marijuana joints per week to his drug intake, and he began experimenting with other drugs, including mushrooms and heroin. At fifteen, he began snorting three to four lines of cocaine and smoking twenty-five marijuana joints per week and increased his alcohol intake to a six-pack of beer per week. By the ages of sixteen to seventeen, “[h]e [drank] approximately a ease of beer, two to three fifths of wine, two pints of whiskey, smoked eighty marijuana joints, and snorted two grams or twelve lines of cocaine each week.” He maintained this level of drug abuse until he was first incarcerated. At that time he reported to Dr. Tuchler that he was “drinking all day if he ha[d] the money.”
Richard has reported hearing voices giving him violent commands intermittently since age seventeen. During his first stint in prison in 1978, he was prescribed an anti-psychotic drug, Mellaril, to suppress the voices. He later took the same drug again in prison after the murder in 1993. Hurles has stated that he heard voices telling him to “push other inmates down the stairs.” He avoided stairs so that he would not do what the voices told him to do.
Most doctors who have examined Hurles have found him mentally and emotionally wanting. Dr. Bendheim, who examined him in 1978 relating to child molestation criminal proceedings, described him as “mentally retarded and illiterate.” Dr. Tuchler concluded at the same time that Hurles was incompetent to stand trial due to his “sociocultural and intellectual defect[s]” and “borderline mental retardation.” He was housed in the prison’s section for the mentally retarded for over half of the thirteen years he was in jail for previous crimes. Dr. Walter, who examined him in 1993, described him as “showing significant levels of neuropsychological deficit” and an “overall degree of dysfunction ... which represents performance in the ‘brain damaged range.’ ” Dr. Walter also thought he likely suffered from both depression and a thought disorder. Dr. Walter’s battery of neuropsychological testing placed Hurles “in the brain damage range in six out of seven measures felt to be most sensitive to brain functioning.” Post-conviction testing revealed an abnormality in the left frontal lobe of his brain.
Dr. Walter concluded that alcohol and drug abuse have a more pronounced effect on someone with Hurles’s developmental limitations, exacerbating his mental deficits and leading to “more blatant cerebral dysfunction.” Similarly, Dr. Bendheim explained, “This type of intoxication in a mentally retarded person further reduces his judgment, his capacity to adhere to the norms of society and of the law and to fully appraise the nature and consequences of his action[s]....” He even opined, relating to Hurles’s conviction for child molestation, “According to the history as I was *1308taking it, it is most unlikely that the alleged offense would have been committed if he had not been severely intoxicated or, given his type of intoxication, if he had possessed norma[l] intellectual capacity which he has lacked apparently since birth.”
In addition to affecting his judgment, drug abuse has also had an impact on his memory. Dr. Stonefeld explained in his September 9, 1994 evaluation that Hurles “has significant memory problems with large gaps in events and time sequences. These episodes are largely related to periods of intoxication.” Indeed, Hurles would sometimes lose time when high on inhalants, including, as he reported to Dr. Bendheim in 1978, “[o]ne time after sniffing paint [when] he found himself in Buckeye for two days without remembering how he got there.”
In contrast to his behavior outside prison, Hurles received glowing reviews from prison staff who worked closely with him during his long term with the Arizona Department of Corrections. Staff described him as “very, very compliant,” “a very good worker” who “remember[ed] daily tasks” and whose “attendance was always good,” and someone who “was never out of control” and never “displayed any ... problems controlling his temper.” Richard received numerous evaluations from prison staff describing him as “excellent.” One staff member commented specifically, “Richard has demonstrated his ability to function well while in prison.” Marilynn Windust, a Correctional Program Officer specializing in mental health and primary substance abuse at the Arizona Department of Corrections while Hurles was imprisoned there, worked with Hurles daily for two years. She stated that, to her knowledge, he had never received disciplinary infractions or had any difficulty complying with prison programs. Dr. Stonefeld considered it consistent with his diagnoses of Hurles that he did and could thrive in the “structured, very orderly” environment of the prison system.
Following the aggravation/mitigation hearing, Judge Hilliard — as the sole sentencer — sentenced Hurles to death on October 13, 1994. The Arizona Supreme 'Court affirmed on direct appeal. State v. Hurles, 185 Ariz. 199, 914 P.2d 1291 (1996).
Hurles filed his first petition for post-conviction review (“PCR”) on January 8, 1999, alleging four claims, including both ineffective assistance of counsel claims raised in this appeal. Judge Hilliard again presided over this PCR, and Colleen French from the Attorney General’s Office-Judge Hilliard’s attorney in the prior special action proceeding — represented the State. Judge Hilliard denied the PCR, and the Arizona Supreme Court affirmed without comment.
Hurles began federal habeas proceedings in 2000, but then returned to state court to file a second PCR raising additional claims, including judicial bias and new ineffective assistance of counsel claims. He requested Judge Hilliard’s removal from the case and was denied. Judge Hilliard then denied his second PCR. The Arizona Supreme Court affirmed without comment.
Hurles filed an amended petition for habeas corpus in the District of Arizona, raising ten claims. The district court denied most of them as procedurally barred. After additional briefing, the district court dismissed the remainder of Hurles’s claims. The district court then certified four issues for appeal to this Court.

II. STANDARD OF REVIEW

This Court reviews the district court’s decision to deny a 28 U.S.C. § 2254 *1309habeas corpus petition de novo, Bribiesca v. Galaza, 215 F.3d 1015, 1018 (9th Cir. 2000), and its findings of fact for clear error, McClure v. Thompson, 323 F.3d 1233, 1240 (9th Cir.2003).
When reviewing decisions of the Arizona state courts, the Anti-Terrorism and Effective Death Penalty Act of 1996 (“AED-PA”) applies to any petition filed after April 24, 1996. 28 U.S.C. § 2254; see also Woodford v. Garceau, 538 U.S. 202, 204, 123 S.Ct. 1398, 155 L.Ed.2d 363 (2003); Lindh v. Murphy, 521 U.S. 320, 336, 117 S.Ct. 2059,138 L.Ed.2d 481 (1997). Under AEDPA, a federal court may grant relief if the state court decision “was contrary to, or involved an unreasonable application of, clearly established Federal law, as determined by the Supreme Court of the United States.” 28 U.S.C. § 2254(d)(1). In addition, a federal court may grant relief with respect to the factual findings of the state court if those findings were “based on an unreasonable determination of the facts in light of the evidence presented in the State court proceeding.” 28 U.S.C. § 2254(d)(2). If the “state court’s fact-finding process survives this intrinsic review,” its “findings are dressed in a presumption of correctness” under Section 2254(e)(1). Taylor v. Maddox, 366 F.3d 992, 1000 (9th Cir.2004).

III. JUDICIAL BIAS

Petitioner argues that the trial judge should have recused herself from his criminal proceedings after she became an active party in his interlocutory appeal. Her continued involvement with his case, he contends, denied him due process of law. Given the judge’s conduct in the special action proceeding, which the Arizona Court of Appeals specifically deemed improper, the potential for bias was unconstitutionally high. Therefore, we reverse the district court’s denial of Hurles’s claim.

A. Clearly Established Supreme Court Precedent

“A fair trial in a fair tribunal is a basic requirement of due process.” In re Murchison, 349 U.S. 133,136, 75 S.Ct. 623, 99 L.Ed. 942 (1955). Indeed, the “legitimacy of the Judicial Branch ultimately depends on its reputation for impartiality and nonpartisanship.” Mistretta v. United States, 488 U.S. 361, 407, 109 S.Ct. 647, 102 L.Ed.2d 714 (1989). This most basic tenet of our judicial system helps to ensure both litigants’ and the public’s confidence that each case has been fairly adjudicated by a neutral and detached arbiter. An appearance of impropriety, regardless of whether such impropriety is actually present or proven, erodes that confidence and weakens our system of justice.
While most claims of judicial bias are resolved “by common law, statute, or the professional standards of the bench and bar,” the Due Process Clause of the Fourteenth Amendment “establishes a constitutional floor.” Bracy v. G'ramley, 520 U.S. 899, 904, 117 S.Ct. 1793, 138 L.Ed.2d 97 (1997) (citations omitted). To safeguard the right to a fair trial, the Constitution requires judicial recusal in cases where “the probability of actual bias on the part of the judge or decisionmaker is too high to be constitutionally tolerable.” Withrow v. Larkin, 421 U.S. 35, 47, 95 S.Ct. 1456, 43 L.Ed.2d 712 (1975). “The Court asks not whether the judge is actually, subjectively biased, but whether the average judge in his position is likely to be neutral, or whether there is an unconstitutional potential for bias.” Caperton v. AT. Massey Coal Co., 556 U.S. 868, 129 S.Ct. 2252, 2262, 173 L.Ed.2d 1208 (2009) (internal quotation marks omitted).3 The Supreme Court has declared:
*1310Every procedure which would offer a possible temptation to the average man as a judge to forget the burden of proof required to convict the defendant, or which might lead him not to hold the balance nice, clear, and true between the state and the accused denies the latter due process of law.
Tumey v. Ohio, 273 U.S. 510, 532, 47 S.Ct. 437, 71 L.Ed. 749 (1927).
A claimant need not prove actual bias to make out a due process violation. Johnson v. Mississippi, 403 U.S. 212, 215, 91 S.Ct. 1778, 29 L.Ed.2d 423 (1971); Aetna Life Ins. Co. v. Lavoie, 475 U.S. 813, 825, 106 S.Ct. 1580, 89 L.Ed.2d 823 (1986). Indeed, the Supreme Court has pointed out that it would be nearly impossible for a litigant to prove actual bias on the part of a judge. Caperton, 129 S.Ct. at 2262-63; see also Vasquez v. Hillery, 474 U.S. 254, 263, 106 S.Ct. 617, 88 L.Ed.2d 598 (1986) (“[W]hen the trial judge is discovered to have had some basis for rendering a biased judgment, his actual motivations are hidden from view, and we must presume the process was impaired.” (citing Tumey, 273 U.S. at 535, 47 S.Ct. 437).) It is for this reason that the Court’s precedents on judicial bias focus on the appearance of and potential for bias, not actual, proven bias. Due process thus mandates a “stringent rule” for judicial conduct, and requires recusal even of judges “who would do their very best to weigh the scales of justice equally” if the risk of bias is too high. Murchison, 349 U.S. at 136, 75 S.Ct. 623.
In determining what constitutes a risk of bias that is “too high,” the Supreme Court has emphasized that no mechanical definition exists; cases requiring recusal “cannot be defined with precision” because “[c]ircumstances and relationships must be considered.” Id.; see also Lavoie, 475 U.S. at 822, 106 S.Ct. 1580 (internal citations omitted). The Supreme Court has just re-affirmed this functional approach. See Caperton, 129 S.Ct. at 2265-66.
The Court’s call for pragmatism is particularly important in this instance, for capital cases mandate an even “greater degree of reliability” than other cases do. Murray v. Giarratano, 492 U.S. 1, 9, 109 S.Ct. 2765, 106 L.Ed.2d 1 (1989); Woodson v. North Carolina, 428 U.S. 280, 304, 96 S.Ct. 2978, 49 L.Ed.2d 944 (1976). We are compelled to acknowledge “that the penalty of death is qualitatively different” from any other penalty and that “there is a corresponding difference in the need for reliability in the determination that death is the appropriate punishment.” Woodson, 428 U.S. at 305, 96 S.Ct. 2978. As required by the Supreme Court, we therefore utilize a functional approach to the facts of this case as they relate to the Court’s established case law.
The Supreme Court’s judicial bias doctrine has evolved as it confronts new scenarios “which, as an objective matter, require recusal.” Caperton, 129 S.Ct. at 2259. The most basic example of probable bias occurs when the judge “ ‘has a direct, personal, substantial pecuniary interest in reaching a conclusion against [one of the litigants].’ ” Crater v. Galaza, 491 F.3d 1119, 1131 (9th Cir.2007) (quoting Tumey, 273 U.S. at 523, 47 S.Ct. 437). The Court has also held that other financial interests *1311may mandate recusal, even when they are not “as direct or positive as [they] appeared to be in [Tumey ].” Gibson v. Berryhill, 411 U.S. 564, 579, 93 S.Ct. 1689, 36 L.Ed.2d 488 (1973); see also Ward v. Monroeville, 409 U.S. 57, 93 S.Ct. 80, 34 L.Ed.2d 267 (1972); Lavoie, 475 U.S. 813, 106 S.Ct. 1580. However, financial conflicts of interest are not the only relevant conflicts for judicial bias purposes. See Caperton, 129 S.Ct. at 2260 (explaining that judicial bias doctrine encompasses “a more general concept of interests that tempt adjudicators to disregard neutrality”). The Court has thus required recusal if the judge “becomes ‘embroiled in a running, bitter controversy’ ” with one of the litigants, id. at 2262 (quoting Mayberry v. Pennsylvania, 400 U.S. 455, 465, 91 S.Ct. 499, 27 L.Ed.2d 532 (1971)); if she becomes “enmeshed in matters involving [a litigant],” Johnson v. Mississippi, 403 U.S. 212, 215, 91 S.Ct. 1778, 29 L.Ed.2d 423 (1971); or “if the judge acts as ‘part of the accusatory process,’ ” Crater, 491 F.3d at 1131 (quoting Murchison, 349 U.S. at 137, 75 S.Ct. 623). At bottom, then, the Court has found a due process violation when a judge holds two irreconcilable roles, such that her role as an impartial arbiter could become compromised. Murchison, 349 U.S. at 137, 75 S.Ct. 623; see also Crater, 491 F.3d at 1131.

B. AEDPA Deference

AEDPA applies to any claim “adjudicated on the merits” by a state court, 28 U.S.C. § 2254(d), meaning the state court decision “rest[ed] on substantive, rather than procedural, grounds.” Lambert v. Blodgett, 393 F.3d 943, 966 (9th Cir.2004). The applicable state court decision is the “last reasoned decision” addressing a claim. Barker v. Fleming, 423 F.3d 1085, 1091 (9th Cir.2005) (citations omitted). Because the Arizona Supreme Court summarily denied Hurles’s appeal on this claim without comment, we “look through” that opinion to the last reasoned decision, Judge Hilliard’s denial of Hurles’s second PCR. Ylst v. Nunnemalcer, 501 U.S. 797, 806, 111 S.Ct. 2590, 115 L.Ed.2d 706 (1991). Ordinarily, the state court’s factual findings would be entitled to a presumption of correctness under AED-PA. 28 U.S.C. § 2254(e)(1). However, such deference is only warranted if the state court’s fact-finding process survives the intrinsic review of Section 2254(d)(2). See Taylor v. Maddox, 366 F.3d 992, 1000 (9th Cir.2004). In other words, the state court decision must not be “based on an unreasonable determination of the facts.” 28 U.S.C. § 2254(d)(2).
In this case, the state court fact-finding process was fundamentally flawed. Judge Hilliard granted no evidentiary hearing or other opportunity for Hurles to develop his claim. Hurles had alleged that Judge Hilliard was improperly involved in the special action proceeding before the Arizona Court of Appeals, in which Hurles had appealed her denial of his request for additional counsel. As discussed above, Judge Hilliard filed a responsive pleading through her counsel, the Arizona Attorney General’s Office, arguing the merits of her decision. Hurles alleged that statements in Judge Hilliard’s brief were attributable to her, and that the brief contained inappropriate statements about the merits of Hurles’s case and the competence of his attorney before trial had begun. He argued that Judge Hilliard’s involvement in the special action — which the Court of Appeals had found improper — rendered her unfit to continue presiding over his trial and sentence and that she should have recused herself.
Instead of providing a forum for Hurles to present and develop evidence to establish his claim, Judge Hilliard “found” facts based on her own recollections and factual *1312assertions about her conduct. She concluded that she was not in fact involved in the Special Action proceeding, that the brief filed in her name was not her brief, and that statements in the brief could not be attributed to her. In effect, she testified through her order denying Hurles’s second petition for post-conviction relief. See Minute Entry, Aug. 9, 2002, at 2, Hurles v. Schriro, No. CIV-00-0118PHX-RCB, 2008 WL 4446691 (D.Ariz. 2008), ECF 72-1 at 19 (“Minute Entry”) (“[T]he Attorney General filed a response on this judge’s behalf but without any specific authorization of such a pleading. No contact was made by this judge with the Attorney General and this judge was a nominal party only.”). Hurles had no opportunity to challenge Judge Hilliard’s own claimed memory and understanding of events which had taken place years prior. This procedure is inherently inadequate to evaluate the merits of Petitioner’s claim. In fact, it is not a procedure at all. See In re Murchison, 349 U.S. 133, 138, 75 S.Ct. 623, 99 L.Ed. 942 (1955) (“Thus the judge whom due process requires to be impartial in weighing the evidence presented before him, called on his own personal knowledge and impression of what had occurred in the grand jury room and his judgment was based in part on this impression, the accuracy of which could not be tested by adequate cross-examination.”); Buffalo v. Sunn, 854 F.2d 1158, 1165 (9th Cir.1988) (finding error when the court relied on “personal knowledge” to resolve a disputed issue of fact).
We have repeatedly held that where a state court makes factual findings without an evidentiary hearing or other opportunity for the petitioner to present evidence, “the fact-finding process itself is deficient” and not entitled to deference. Maddox, 366 F.3d at 1001 (“If, for example, a state court makes evidentiary findings without holding a hearing and giving petitioner an opportunity to present evidence, such findings clearly result in an ‘unreasonable determination of the facts.’ ”); see also Perez v. Rosario, 459 F.3d 943, 950 (9th Cir.2006) (“In many circumstances, a state court’s determination of the facts without an evidentiary hearing creates a presumption of unreasonableness.”) (citations omitted); Nunes v. Mueller, 350 F.3d 1045, 1055 (9th Cir. 2003), cert, denied, 543 U.S. 1038,125 S.Ct. 808, 160 L.Ed.2d 605 (2004) (“[W]ith the state court having refused [petitioner] an evidentiary hearing, we need not of course defer to the state court’s factual findings— if that is indeed how those stated findings should be characterized — when they were made without such a hearing.”); Killian v. Poole, 282 F.3d 1204, 1208 (9th Cir.2002), cert, denied, 537 U.S. 1179, 123 S.Ct. 992, 154 L.Ed.2d 927 (2003) (“Having refused [petitioner] an evidentiary hearing on the matter, the state cannot argue now that the normal AEDPA deference is owed the factual determinations of the [state] courts.”); Weaver v. Thompson, 197 F.3d 359, 363 (9th Cir.1999) (finding no deference warranted where factual findings “were not subject to any of the usual judicial procedures designed to ensure accuracy” because “[t]he judge was not under oath when he wrote the letter, the bailiff was not under oath when relaying her account of events to the judge, and neither the judge nor the bailiff was ever questioned by counsel for either side”); cf. Fero v. Kerby, 39 F.3d 1462, 1479 n. 24 (10th Cir.1994) (“[Petitioner] raised the issue of judicial bias in his first post-trial motion for a new trial and had the benefit of an evidentiary hearing on that claim.”). This case presents an especially compelling example of a defective fact-finding process, where the facts “found” by Judge Hilliard involved her own conduct and her *1313“findings” were based on her own untested memory and assertions.
The dissent suggests that we are recasting legal disputes as factual ones in order to escape the constraints of AEDPA. However, we are bound to confront factual disputes relevant to this claim. Judge Hilliard’s resolution of Hurles’s due process claim was predominantly a factual one. She did not review her participation in the special action and the statements in her brief and conclude that they did not constitute a potential for bias, nor did she review the Arizona Court of Appeals’s decision and conclude that it indicated no unconstitutional potential for bias. Rather, she supplied additional facts that, in her judgment, rendered her conduct proper and prevented the briefs contents from being attributable to her. See Minute Entry at 2 (“In the special action in this case, the Attorney General filed a response on this judge’s behalf but without any specific authorization of such a pleading. No contact was made by this judge with the Attorney General and this judge was a nominal party only.”) (emphasis added). None of these facts was established by the record. To the contrary, Hurles contended that Judge Hilliard had “injected [her]self as a direct adversary” in the special action, that she “filed her own substantive response” in the proceeding, that she knew the contents of the briefing filed in her name, and that those contents were therefore attributable to her. The Arizona Court of Appeals explicitly noted that the record was ambiguous as to Judge Hilliard’s involvement; the Attorney General had noted at oral argument that the Judge was not involved, but there was no other evidence to that effect and the brief was filed in the Judge’s name. See Hurles, 849 P.2d at 2 &amp; n. 2.
Thus, while the dissent appears to characterize Judge Hilliard’s decision as solely a legal determination based on undisputed facts, Judge Hilliard’s own (factual) reasoning belies that characterization of this case. Indeed, she clarifies in her order that the defect in Hurles’s due process claim is a lack of sufficient “factual evidence to support his allegations,” but she then fails to afford him a hearing or other opportunity to develop such factual evidence. Minute Entry at 2. The dissent relies on Judge Hilliard’s own description of events, which were not tested or challenged through cross-examination, in its description of the relevant facts. See Dissent at 1332. Thus, the dissent adopts one disputed view of the facts at issue here and then claims they are undisputed.4 Hurles has always contested Judge Hilliard’s version of the facts and her determination that she was not involved with the special action proceeding.
Moreover, Judge Hilliard herself presided over the collateral proceedings, evaluating Hurles’s claims regarding her own alleged misconduct during trial and sentencing. While judges frequently consider contemporaneous motions for recusal based on their own alleged conflicts of interest, the Supreme Court has noted the inherently problematic nature of reviewing such inquiries. See Caperton v. A.T. Massey Coal Co., 556 U.S. 868, 129 S.Ct. 2252, *13142263, 173 L.Ed.2d 1208 (2009) (“[Without objective rules,] there may be no adequate protection against a judge who simply misreads or misapprehends the real motives at work in deciding the case. The judge’s own inquiry into actual bias, then, is not one that the law can easily superintend or review____”). We note, however, that this case presents a particularly unusual and problematic scenario. Typically, judges’ considerations of their conflicts of interest take place in the context of contemporaneous motions for recusal before the allegedly biased proceedings occurred. In that circumstance, the judge is merely asked to prevent a future harm from occurring, see, e.g., Tumey v. Ohio, 273 U.S. 510, 515, 47 S.Ct. 437, 71 L.Ed. 749 (1927), and the judge is charged simply with determining whether failure to recuse could create a potential for bias. Here, by contrast, Judge Hilliard provided a post-hoc justification for her own conduct in response to allegations that she had already behaved improperly and violated Hurles’s rights. This unusual posture distinguishes this case from the routine examples cited by the dissent, dissent at 1332-33, and raises concerns about a judge’s ability to determine impartially whether she has, in essence, violated the law. See Murchison, 349 U.S. at 136, 75 S.Ct. 623 (“[N]o man can be a judge in his own case.... ”).
Based on these flaws in the state court’s fact-finding process, we find the state court decision resulted in an “unreasonable determination of the facts” and is not entitled to a presumption of correctness under AEDPA. See Maddox, 366 F.3d at 999 (explaining that application of the “ ‘unreasonable determination’ clause” is appropriate to situations in which “the process employed by the state court is defective”) (citations omitted). We therefore turn to consider Hurles’s judicial bias claim.

C. The Merits of the Judicial Bias Claim

In this case, at least three problems raise an unconstitutional potential for bias given Judge Hilliard’s later role as the sole arbiter of Hurles’s sentence: (1) her unnecessary and improper participation in the special action to defend her own ruling against the defendant5; (2) her troubling comments about the simplicity of his case and the overwhelming evidence of guilt that she made before a single witness had testified; and (3) her comments questioning the competence of Hurles’s attorney. Taken together, these unique facts point to the overarching conclusion that Judge Hilliard held two incompatible roles: that of arbiter and that of adversary. Therefore, Judge Hilliard’s recusal was required in order to protect Hurles’s due process right to a fair trial.6
*1315Respondent highlights the fact that Hurles did not raise his judicial bias claim sooner (either at trial or on direct appeal) and that the Arizona Court of Appeals did not seek Judge Hilliard’s recusal in the aftermath of its decision denying her standing in the special action. We find these arguments unpersuasive for several reasons. First, to the extent that the respondent raises a procedural argument regarding the timing of Hurles’s judicial bias claim, it is meritless. No party has directly argued that Hurles failed to exhaust or has otherwise waived or defaulted on his judicial bias claim. The Arizona Superior Court did not consider or find any procedural problems with Hurles’s claim; rather, the court reached the merits of Mr. Hurles’s claim and denied it on the merits. Indeed, the claim was exhausted through “one complete round of the State’s established review process,” the state court denied the claim on the merits, and it is now properly before us. O’Sullivan v. Boerckel, 526 U.S. 838, 845, 119 S.Ct. 1728, 144 L.Ed.2d 1 (1999).
In addition, whether Hurles would have been better served by seeking Judge Hilliard’s recusal earlier, or whether the Arizona Court of Appeals should have sought her recusal, does not control our current evaluation of the claim. The burden is on the judge to disqualify herself, even if a party never seeks recusal. See 17A Ariz.Rev.Stat. Sup.Ct. Rules, Rule 81, Code of Jud. Conduct, Rule 2.11(A) (“A judge shall disqualify himself or herself in any proceeding in which the judge’s impartiality might reasonably be questioned.”) (emphasis added); see also, e.g., 28 U.S.C. § 455(a) (same). Furthermore, Hurles has raised ineffective assistance of counsel claims with regard to both his trial and appellate counsel. We do not reach or decide these claims because the judicial bias claim is dispositive, but we hesitate to lend persuasive weight to the fact that he did not raise his judicial bias claim while represented by those attorneys.

1. Judge Hilliard’s Adversarial Role

Judge Hilliard injected herself into a special action proceeding in which Hurles appealed her denial of his request for additional counsel and argued that she had abused her discretion. As noted above, while special action proceedings in Arizona require the trial judge to be named as the nominal respondent, this is typically a mere formality and does not warrant any response or active participation by the judge. Hurles, 849 P.2d at 2. In this case, however, Judge Hilliard filed a responsive pleading through her counsel, the Arizona Attorney General’s Office, arguing the merits of her decision.
The Arizona Court of Appeals issued a published opinion denying the judge’s standing to appear in the special action and finding that her responsive pleading was improper. Id. at 4. Specifically, the court held that judges may not file responsive pleadings in special action proceedings solely to make “I-ruled-correctly” arguments. Id. Such conduct, the court found, transformed the judge’s role from that of an impartial arbiter to that of an adversary. Specifically, the court characterized this kind of intervention as follows:
[T]he trial judge, that impartial dispenser of justice ... stands before the appel*1316late tribunal to defend his ruling and his honor. The trial judge is no longer impartial. He is an adversary and an advocate.
Id. at 3 (quoting State ex rel. Dean v. City Court, 123 Ariz. 189, 598 P.2d 1008, 1010 (App.1979)). The court thus ruled that her conduct was improper because it threatened a “principle ... essential to impartial adjudication,” that judges have “no personal stake — and surely no justiciable stake— in whether they are ultimately affirmed or reversed.” Id. at 4 (emphasis in original). Despite this ruling, Judge Hilliard continued to preside over Hurles’s trial and unilaterally determined his death sentence after he was convicted.7
Respondent argues that Judge Hilliard was a mere nominal party in the special action proceedings. However, the Arizona Court of Appeals’s decision specifically drew a distinction between judges who behave as “nominal” parties and those who, despite the fact that no response or appearance is required, nonetheless appear and submit arguments on their own behalf. The court then determined that, within the category of the more active parties, some kinds of responses are proper (those based on administrative or policy-based arguments) and some are improper (those that defend the judge’s decision against the petitioner’s claim). Id. at 3. Thus, the Court of Appeals found that Judge Hilliard was neither a standard nominal party, nor an appropriate active party. Instead, it agreed with the Dean court’s assessment that participation such as Judge Hilliard’s in the special action transformed the trial judge into “an adversary and an advocate.” Id. at 3.
The dissent argues that we overstate the Arizona Court of Appeals’s characterization of Judge Hilliard’s participation in the special action as “improper”; rather, according to the dissent, the court “merely resolved two competing lines of authority and determined that a trial judge lacks standing to defend a specific ruling in a special action proceeding.” Dissent at 1328. This is a strained reading of the Court of Appeals’s opinion. That its decision was an important and strong rebuke of active judicial participation in special actions is apparent from Judge Hilliard’s statement in her later Minute Entry that “judges no longer file an ‘improper’ response in special actions since the court’s decision in Hurles v. Superior Court.” Minute Entry at 3. Indeed, even the Arizona Attorney General’s Office, which represented Judge Hilliard in the special action, conceded that the Court of Appeals’s opinion was concerned with protecting the impartiality of judicial proceedings that was threatened by participation such as Judge Hilliard’s. See Opp. to Mot. to Recuse at 2, Hurles v. Schriro, No. CIY-00-0118-PHX-RCB (D.Ariz.2008), ECF 72-6 at 24 (“The [Arizona Court of Appeals] held that ... it is improper for a judge to [act as Judge Hilliard did].... The court reasoned that when a judge responded to a special action and claimed that he or she had ruled correctly, it placed the judge at odds with the party iuho filed the special action, which might affect the perception of impartiality of the proceedings.”) (emphasis added) (internal citations omitted).
Respondent argues that regardless of how we classify Judge Hilliard’s participation, we should not consider statements in the responsive pleading to be statements by the judge. However, while *1317Judge Hilliard recalls that she was not involved, Colleen French, her counsel, conceded otherwise. In a brief filed with the district court in Hurles’s federal habeas proceedings, Ms. French stated, “Undersigned Counsel’s communications with the Trial Judge during the special action proceedings cannot be construed to have been ex parte because Undersigned Counsel represented the Trial Judge at the time they occurred.” Response to Pet.’s Mot. to Disqualify at 6, Hurles v. Schriro, No. CIV-00-0118-PHX-RCB (D.Ariz.2008), ECF 27. Thus, her level of personal involvement in the special action is, at best, contested.
Even if we accept Judge Hilliard’s averment that she had no direct involvement in the special action, however, we may still properly attribute statements in the brief to her for at least two reasons. First, the responsive pleading was in the judge’s name, as stated in the introduction.8 This statement is no different from the language used by counsel for Hurles.9 The presumption that statements in one’s name are statements of that person is a logical one, and there is no reliable evidence in the record that demonstrates otherwise.10 The Judge also received copies of the briefing and therefore had an opportunity to object to any statements made on her behalf, which the record indicates she did not do. It is unclear why statements of a client’s attorney should not be imputed to the client in this instance, as they are in every other scenario. Whether Judge Hilliard herself actually wrote the language in her special action brief is irrelevant. She was the respondent and the brief was filed in her name; statements in the brief are therefore attributable to her. We need not inquire further into her subjective state of mind, especially given the Court of Appeals’s treatment of the issue as a pleading filed by her. Hurles, 849 P.2d at 4 (“We come then to the question which sort of pleading the responding judge has offered in this case.”) (emphasis added).
Second, petitions for review in the Arizona Supreme Court challenging the Court of Appeals’s decision in the special action refer to the Judge’s responsive pleading with the presumption that they are her arguments, just as the statements of counsel are always the statements of the client. The presiding criminal judge of the Maricopa County Superior Court, Ronald S. Reinstein, petitioned for a special action to the Arizona Supreme Court following the Court of Appeals’s ruling in Hurles v. Superior Court in order to defend a judge’s ability to appear in such proceedings. See Pet. for Special Action, CV-93-0135-SA (Apr. 20, 1993). In that petition, Judge Reinstein referred to the pleadings in the Hurles special action as “Judge Hilliard’s response,” id. at 6, and highlighted the direct participation of judges in defending their rulings or policies in special action proceedings. Judge Reinstein’s petition makes no distinction between the judge *1318and any other client, who may be represented by counsel but is nonetheless speaking directly through his or her legal pleadings. Judge Reinstein also argues that if judges are not able to appear in special actions like Hurles’s — actions in which the state has no standing to appear — the proceeding would “completely lose[] its adversarial quality.” Id. at 4. The Superior Court’s presiding criminal judge thus assumed judges in this type of posture are indeed adversaries of the party bringing the appeal.
The Arizona Attorney General, Grant Woods, also petitioned the Arizona Supreme Court for a special action following the Court of Appeals’s ruling, seeking to have the court decide whether the Attorney General’s Office could continue to represent judges in special action proceedings given the court’s concern over potential conflicts of interest. Pet. for Special Action, CV-93-0134-SA, at 5-6 (Apr. 20, 1993). The petition argues that if the Attorney General cannot represent judges, they would have to appear themselves or hire private counsel. Id. This presumes a standard attorney-client relationship in which the primary actor is the client, Judge Hilliard, not the Attorney General, her counsel. Therefore, we conclude that statements in the brief are properly attributable to Judge Hilliard.

2. Statements About the Case

In addition to the fact of Judge Hilliard’s participation, the brief itself contains numerous troubling statements about the merits of Hurles’s case. These statements display a familiarity with, and prejudgment of, the facts of his case long before any evidence had actually been presented. Judge Hilliard’s brief describes the nature of Hurles’s case, concluding that it was “very simple and straightforward,” with an over whelming amount of evidence assembled to demonstrate his guilt for the “brutal murder.” While any judge would need to make a determination as to whether additional counsel is needed by evaluating the relative complexity of a case, here it is the manner in which Judge Hilliard dismissed Hurles’s case as “simple” that is problematic. Rather than discussing the simplicity of the case with reference to the number of expert or percipient witnesses that would need to be prepared, the number of trial days the case would likely call for, or other content-neutral factors, Judge Hilliard referred to the case as “simple” because the state had already purportedly amassed overwhelming evidence of guilt against the defendant. She writes:
The State’s evidence at this point includes, but is not limited to the following: eyewitness statements indicating that Petitioner was seen running from the Buckeye library after a witness saw a woman bleeding profusely inside the locked library building, Petitioner’s statement to his brother that he had stabbed someone at the library, Petitioner’s shirt and pants stained with blood of the same PGM type as the victim’s, Petitioner’s footprint in the victim’s blood at the scene, and the fact that books returned by Petitioner in the return slot at the library place him at the scene a[t] the time of the murder.
This description leads to only one conclusion. According to Judge Hilliard, the case was simple because he was obviously guilty.
The dissent’s contention that the proceeding “involved an evaluation of the evidence only for purposes of determining whether a second counsel was necessary” assumes the conclusion it wishes to draw. Dissent at 1329-30. Judge Hilliard’s analysis is quite different from, for example, a detached determination that the case was *1319simple because it would require very little witness preparation. In fact, on such neutral measures, the case was not simple at all. Judge Hilliard acknowledged that the State had already listed “22 witnesses to be called at trial” and that the defense witness list was at that time unknown. While Judge Hilliard attempted to characterize the scientific evidence required as minimal, by her own admission there would be, at a minimum, blood, fingerprint, and footprint analysis. In addition, she focuses solely on guilt-phase evidence without mention of the sentencing process, one of Hurles’s counsel’s chief justifications for requesting additional counsel. As the subsequent competency evaluations and testimony at trial and sentencing showed, Hurles’s personal and family background required extensive investigation into a multitude of alleged mitigating factors. Moreover, she gives short shrift to the need for extensive investigation on the part of Hurles’s attorney to prepare a defense, including alleged bases for legal insanity. Indeed, the evidence amassed by the prosecution posed significant challenges for the defense. That the prosecution appeared to have a strong case for guilt does not render the defense’s job easier or “simpler.” To the contrary, the more evidence the prosecution has, the more challenging it would be for the defense to put on a good case. Therefore, Judge Hilliard could not have been referring to the case as “simple” in any technical sense. There is no plausible reading of Judge Hilliard’s statements other than that the case’s resolution was a foregone conclusion.
Judges are free to form opinions based on evidence presented in the same or earlier cases involving the litigant in question without offending notions of due process. See Crater v. Galaza, 491 F.3d 1119, 1130-32 (9th Cir.2007) (finding no due process violation where the judge’s opinions as to the likelihood of a guilty verdict against defendant was based on evidence presented in an earlier, now complete, proceeding against his co-defendant for the same incident). In this case, however, the judge’s opinions were formed long before trial and before any evidence had been presented. Indeed, the brief presumes that the State’s amassed evidence is virtually unassailable, for if there were flaws in the scientific evidence, then the time required to prepare a vigorous defense would be much more significant than Judge Hilliard suggests.11 Judge Hilliard’s statements thus indicate a prejudgment of the case against Hurles months before she would preside over his trial and, later, unilaterally sentence him to death and adjudicate his post-conviction claims for relief.

3. Statements About Hurles’s Counsel

Finally, Judge Hilliard challenged the professionalism of Hurles’s attorney, whose credibility would later be important as Hurles’s sole counsel during the trial and sentencing proceedings. She argued that the attorney’s insecurity over handling the case on her own placed her competence in doubt. Judge Hilliard stated:
[I]f Appointed Counsel believes, because of her caseload, personal competence, or *1320otherwise, that she is incapable of rendering “competent representation” of the Petitioner, she is ethically bound to withdraw from this case, and, quite possibly, to withdraw her name from the list of lawyers who contract to provide defense services on behalf of Maricopa County as well. Clearly there are other attorneys who provide contract services for Maricopa County who would be able to provide competent representation in a case as simple as this.
This point was entirely superfluous to the brief and appears designed merely to question the competence of an attorney who determined she needed assistance in a capital case. Indeed, in addition to questioning her competence in this particular case, the brief even raises the prospect that this attorney should no longer receive gainful employment from Maricopa County if she did not have the “personal competence” to do so. After having raised questions about Hurles’s only legal counsel in pleadings to the Arizona Court of Appeals, Judge Hilliard then had sole responsibility for determining the credibility of mitigating evidence presented by that attorney. Taken together with her comments about the merits of Hurles’s case, such direct prejudgment raises an unconstitutional probability of bias.
% ^5 í¡:
Based on these three deficiencies flowing from the special action proceeding, the “average” judge would be tempted “not to hold the balance nice, clear, and true.” Tumey v. Ohio, 273 U.S. 510, 532, 47 S.Ct. 437, 71 L.Ed. 749 (1927). Judge Hilliard’s conduct falls within the parameters of behavior prohibited by clearly established Supreme Court precedent. In Murchison, for example, the Court found an appearance of bias where the judge who had acted as a “one-man grand jury” later presided over the defendant’s contempt trial relating to his conduct before the judge in that grand jury. In re Murchison, 349 U.S. 133, 137, 75 S.Ct. 623, 99 L.Ed. 942 (1955). The Court determined that “the judge had a conflict of interest at the trial stage because of his earlier participation followed by his decision to charge them.” Caperton v. A. T. Massey Coal Co., 556 U.S. 868, 129 S.Ct. 2252, 2261, 173 L.Ed.2d 1208 (2009) (describing the holding of Murchison). Similarly, in Johnson v. Mississippi, the Court evaluated a judge’s fitness to preside over the petitioner’s criminal contempt proceeding. 403 U.S. 212, 215, 91 S.Ct. 1778, 29 L.Ed.2d 423 (1971). The judge had previously been named as a defendant in a separate civil rights suit brought by the petitioner, and subsequently made “intemperate remarks” about civil rights litigants. Id. Based on the judge’s status as an adversary in the petitioner’s civil rights suit and his remarks about litigants such as the petitioner, the Court determined that he was too “enmeshed in matters involving [the] petitioner” to preside over his contempt proceeding. Id.
As in Murchison and Johnson, here the Judge’s conflict of interest at the trial and sentencing stages arose from her “earlier participation” as a direct party in the special action proceeding. Caperton, 129 S.Ct. at 2261. The Murchison Court distinguished these circumstances from one in which a judge simply responded to conduct in open court. Murchison, 349 U.S. at 137, 75 S.Ct. 623. Similarly, Judge Hilliard’s initial denial of the motion for additional counsel is not the basis for any claim of bias, nor was her status as a nominal respondent in the special action. Rather, it was her direct participation in the special action that made her “part of the accusatory process” and rendered her ineligible to preside over the remainder of Hurles’s case. Id.
*1321The dissent attempts to distinguish Murchison and Johnson because Judge Hilliard (a) was only a party in an ancillary proceeding, rather than in the trial itself, (b) did not assume a “prosecutorial role” in Hurles’s case, and (c) did not appear to have “personal animus” towards Hurles. Dissent at 1329-30. This misconstrues the two cases. First, the sources of the bias at issue in both Murchison and Johnson were separate pretrial proceedings. Id.; Johnson, 403 U.S. at 215, 91 S.Ct. 1778. Other courts have also construed Supreme Court case law to apply more broadly to the process as a whole. See, e.g., United States v. Meyer, 462 F.2d 827, 842 (D.C.Cir.1972) (describing necessity for recusal when the judge “has adopted an adversary posture with respect to the alleged contemnor, as in Murchison and Johnson ”).
Second, the fact that Hurles initiated the special action proceeding and Judge Hilliard did not have a direct prosecutorial role is of no import. Indeed, we find no authority for the proposition that whether a judge affirmatively creates the conflict determines whether she can proceed impartially. Johnson itself involved a judge who had been named as a defendant in the petitioner’s civil rights suit. Johnson, 403 U.S. at 215, 91 S.Ct. 1778. Murchison likewise does not state that the judge must be the initiator or instigator of the accusatory process; it states instead that she must recuse herself if she becomes “part” of the accusatory process. A defendant such as Judge Hilliard is still part of the process to the extent that she was an adversary in the special action and then proceeded to preside over Hurles’s trial and single-handedly determine his sentence. See also Smith v. Lockhart, 923 F.2d 1314, 1322 n. 12 (8th Cir.1991) (finding that judge should have disqualified himself because he had been “a defendant in Smith’s federal class action suit”); United States v. Meyer, 462 F.2d 827, 842 (D.C.Cir.1972) (emphasis added) (“Thus, the trial judge, by virtue of his status as a defendant in a suit brought by the alleged contemnor, was in an adversary posture with respect to him, and was presumptively biased. This is true even though the judge’s status as an adversary party was created by an action of the alleged contemnor (filing suit).... ”). Whether Judge Hilliard was a plaintiff or defendant in the action at issue is thus irrelevant; what matters is her adversarial posture toward Hurles.
Finally, the Supreme Court has never required evidence of “personal animus” in order to demonstrate judicial bias. Though the Johnson Court made note of the judge’s “intemperate remarks ... concerning civil rights litigants,” Johnson, 403 U.S. at 215, 91 S.Ct. 1778, it grounded its holding in the fact that the judge had previously been an adversary in the petitioner’s civil rights suit. This comports with the Court’s longstanding rule, which the dissent recognizes, that a petitioner need not demonstrate actual bias in order to succeed on his claim. See Caperton, 129 S.Ct. at 2262-63. Moreover, as discussed above, Judge Hilliard also made inappropriate statements in her response brief, statements which suggested she had prejudged the strength of Hurles’s case. That Johnson happened to involve more direct evidence of personal animus does not render it inapplicable here.
Respondent’s position that Judge Hilliard “prevailed” in the special action, and therefore had no incentive to be biased against Hurles, is both misleading and logically unsound. While the Court of Appeals declined to exercise jurisdiction over the petition for special action, it sided with Hurles in holding that Judge Hilliard had no standing to appear as more than a nominal respondent in the case, or in any *1322case with the posture of Hurles v. Superi- or Court. In fact, the court issued an opinion solely to point out the impropriety of the judge’s actions and to set a precedent against any future involvement of that kind by a judge in a special action proceeding. Hurles, 849 P.2d at 1 (“This petition for special action presents a significant threshold question of standing, which we publish this order to address.”). Thus, on the subject of the opinion, Judge Hilliard did not prevail at all; rather, she was called out for “inappropriate” conduct. Id. at 4. Moreover, depending on the circumstances of the proceeding, whether the Judge had “prevailed” would not necessarily alter her temptation toward bias against the defendant. In this case, given the concern expressed by the Court of Appeals, Judge Hilliard had reason to be biased against Hurles independent of the fact that the court did not reach the merits of her order denying additional counsel.
We emphasize again that it is the highly unusual facts of this case that compel us to conclude Hurles was denied his right to due process. As the Supreme Court has noted, “most questions concerning a judge’s qualifications to hear a case are not constitutional ones, because the Due Process Clause of the Fourteenth Amendment establishes a constitutional floor, not a uniform standard.” Bracy v. Gramley, 520 U.S. 899, 904-05, 117 S.Ct. 1793, 138 L.Ed.2d 97 (1997) (citations omitted). We deal here with a perfect storm of rare incidents that are unlikely to repeat themselves. Unlike in Caperton, where the Court had to contend with the possibility that its ruling would unleash a “flood of recusal motions,” this case presents no such danger. Caperton, 129 S.Ct. at 2265; see id. at 2274 (Scalia, J., dissenting) (arguing that the Court’s decision would lead to a drastic increase in judicial bias litigation). First, as Judge Hilliard herself pointed out, special action appearances by trial judges no longer occur in the wake of Hurles v. Superior Court. Thus, this factual scenario is a relic of past practice in Arizona courts, rare even at the time and nonexistent today. Second, in this particular case, the judge in question was the sole arbiter of the defendant’s death sentence; she alone weighed the evidence and determinéd that Hurles deserved to die. This practice is no longer constitutionally permissible in the wake of Ring v. Arizona, 536 U.S. 584, 597-98, 122 S.Ct. 2428, 153 L.Ed.2d 556 (2002). Indications of probable bias are thus all the more troubling in an exceptional case such as this, and the consequences of an unfair capital sentencing are irreversible. We must therefore conclude that “[o]n these extreme facts the probability of actual bias rises to an unconstitutional level.” Caperton, 129 S.Ct. at 2265.

IV. CONCLUSION

At oral argument, when counsel was asked what relief she was seeking for her client pursuant to his judicial bias claim, she requested only a new sentencing. Therefore, we remand to the district court with instructions to grant a writ of habeas corpus as to Petitioner’s sentence unless the State of Arizona elects, within 90 days of the issuance of the mandate, to resentence Petitioner before a jury and presided over by a judge other than Judge Hilliard, within a reasonable time thereafter to be determined by the district court.
Because Hurles will receive a new sentencing and, if necessary, a new appeal after his sentence has been determined by a jury, we do not reach or decide the remainder of his claims on appeal, including whether his sentencing or appellate counsel were ineffective, and whether he defaulted on any of those claims.
REVERSED and REMANDED.

. The public defender’s office was unable to represent Hurles due to a conflict of interest. Hurles's attorney was appointed by the court as a solo practitioner.


. We use the Petitioner’s first name in this section so as to distinguish him from other members of the Hurles family.


. We cite to Caperton, the Supreme Court's recent decision regarding judicial bias, *1310throughout this opinion. Although, as the dissent points out, Caperton is not controlling insofar as it announces new "clearly established Supreme Court precedent” that postdates the state court decision at issue here, dissent at 1329 n. 13, we refer to it where we find its analysis of established Supreme Court jurisprudence helpful to our resolution of the case. We read Caperton to announce no new rule of law that would affect our analysis here.


. The dissent also seems to suggest that a judicial bias claim based on appearance of bias could never present a factual question, and that Hurles has acknowledged as much. Dissent at 1332 n. 15. However, that the test is appearance of bias rather than actual bias does not obviate the need for facts to support one's claim. Indeed, all judicial bias claims must proffer some set of facts that indicate an unconstitutional potential for bias. Hurles does so by laying out the facts which he contends indicate a potential for bias and unequivocally arguing that Judge Hilliard’s opinion was based on an unreasonable determination of the facts.


. The Arizona Court of Appeals found the Judge’s conduct to be improper and characterized this type of intervention in a special action proceeding as one indicating that the trial judge has abandoned her neutral role. See Hurles v. Superior Court, 174 Ariz. 331, 849 P.2d 1, 3 (App.1993) (internal quotations omitted).


. The dissent emphasizes the fact that another trial court judge, Judge Ballinger, reviewed and denied Hurles’s motion to recuse Judge Hilliard from presiding over his second petition for post-conviction review. Dissent at 1333 &amp; n. 16. First, under AEDPA, our review is focused on the last reasoned state court decision, which is Judge Hilliard's denial of Hurles’s second state post-conviction petition. Ylst v. Nunnemaker, 501 U.S. 797, 803, 111 S.Ct. 2590, 115 L.Ed.2d 706 (1991). Therefore, Judge Ballinger's decision is not the decision we are reviewing. Second, Judge Ballinger's four-sentence, unreasoned minute order does not purport to rule on the merits of Hurles’s judicial bias claim (or any of his other claims for post-conviction relief); rather, it simply denies Hurles's motion for a change of judge for cause. It contains no analysis of the facts or applicable law at issue in the case, and makes no pronouncement as *1315to the merits of any of Hurles’s claims. Finally, that one judge has ruled differently in a particular case is not by itself persuasive in a case where, as here, the specific ruling at issue (Judge Ballinger's order) is not entitled to any deference. Habeas review (and indeed, appellate review more generally) presupposes numerous earlier judgments against a petitioner. Our role is to determine whether those prior decisions should stand under governing law.


. Arizona’s system of allowing judges to deliver death sentences without a jury has since been held unconstitutional. Ring v. Arizona, 536 U.S. 584, 596-97, 122 S.Ct 2428, 153 L.Ed.2d 556 (2002).


. "Respondent Judge Hilliard, through her attorneys undersigned, hereby enters her response to Petitioner’s petition for special action.” Response to Pet. for Special Action, CV-93-0046-SA (Mar. 1, 1993).


. “Petitioner, Richard Hurles, by and through his undersigned counsel, respectfully petitions the Court----” Pet. for Special Action, CV-93-0046-SA (Feb. 18, 1993).


. The dissent attempts to distance Judge Hilliard from the special action proceeding by referring to the brief as simply "submitted in Judge Hilliard's name” and without her involvement. Dissent at 1332. This linguistic strategy merely highlights the key factual dispute in this case: whether and how much Judge Hilliard was involved in the special action. The dissent and Judge Hilliard resolve this dispute by pointing to Judge Hilliard’s factual testimony submitted in her minute entry.


. Judge Hilliard’s brief lacks any equivocation as to the strength of the State's purported evidence. For example, eyewitnesses do not "claim” or "allege” to have seen Hurles at the library, but rather they "indicate” that he was indeed at the library. Similarly, Hurles’s "footprint [was] in the victim's blood," and evidence "placets] him at the scene a[t] the time of the murder.” This language leaves no doubt as to what the factual findings should be in Hurles's case, even though many months would pass before any evidence would actually be presented in court and be subject to cross-examination.

